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                            IN THE UNITED STATES DISTRICT
                            FOR THE DISTRICT OF COLUMBIA


DERREK SIMS,                                  )
                                              )
                       Plaintiff,             )       Case No.: 1:20-cv-01243-(CJN)
                                              )
v.                                            )
                                              )
WASHINGTON METROPOLITAN                       )
AREA TRANSIT AUTHORITY,                       )
                                              )
                       Defendant.             )



PLAINTIFF’S MEMORANDUM IN SUPPORT OF HIS OPPOSITION AND REPLY TO
            DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

                                    STATEMENT OF FACTS

         Plaintiff, Derrick Sims, (hereinafter referred to as “Plaintiff”) was employed by

Washington Metropolitan Area Transit Authority (hereinafter referred to as “WMATA” or

“Defendant”). WMATA has an Employee Rulebook, as well as an Electronic Device Policy which

are both of equal seriousness and equally enforced by WMATA. WMATA’s Employee Rulebook

and Cardinal Rules ‘Truthful Statements’ Section 1.2.1, states: “Employees must make timely,

complete, and truth statements at all times. 1.2.2 Any employee providing false or misleading

information or documentation will be subject to immediate dismissal. (Exhibit A: Rulebook,

Section 1.2) Further, the Accident/Incident Report Section 1.33 states in pertinent part: “Failure to

immediately report an accident or incident or any attempt to conceal or misrepresent facts is an

extremely serious violation of rules and will result in dismissal.” (Exhibit A: Rulebook, Section

1.33).




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       WMATA’s Electronic Device Policy, Enforcement Provision Section 6.0 provides that the

first offense for “using” a phone is discharge; and the first offense for “having a phone on their

person” is 10-day suspension. Plaintiff is aware of the Electronic Device Policy but has no

knowledge, nor received any notice of any specific definitions or broad interpretations of the terms

in the Policy. (Dkt. 15-2 P/I: 10.3/4). WMATA has not provided such notice to employees.

(Greenfield Dep. 66:9-20).

       On or about September 3, 2019, Plaintiff was operating a WMATA vehicle. While

operating the vehicle, Plaintiff was observed by a supervisor who was driving down the highway

attempting to look inside Plaintiff’s vehicle. While operating the vehicle, Plaintiff had his iPhone

inside his right pocket. As he hit a bump in the road, the iPhone began to fall out of his pocket.

Plaintiff reached with his right hand and picked up the phone to reposition it and prevent it from

falling. The Raise to Wake feature on the iPhone automatically illuminated the iPhone while

Plaintiff was holding it in his right hand for 2-3 seconds. Plaintiff placed the iPhone in a secure

place and continued driving until his supervisor asked that he stop. This was verified by video

surveillance. (Dkt. 15-12 Video). At no time was Plaintiff using his iPhone. This was Plaintiff’s

first offense of violating the Electronic Device Policy by having a phone on his person. On

September 17, 2019, Plaintiff was terminated on the basis of “using” his iPhone.

       Approximately one month later, Brett Miller, who is a Caucasian male employee of

WMATA, was driving a metrobus. Brett Miller caused a crash in the vehicle, did not immediately

report the crash, and when he did later report the crash, he made false statements in the report. This

was verified by video surveillance. Brett Miller directly and inexplicitly violated the WMATA

Handbook and Cardinal Rules which are also outlined in the Notice to Operators, which states in

red bold font, “Failure to immediately report an accident or incident or any attempt to conceal or



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misrepresent facts is an extremely serious violation of rules and will result in dismissal.” Brett

Miller was not terminated, and instead was disciplined less harshly and received only two 10-day

paid leave suspensions.

       Both the Plaintiff and Brett Miller violated serious WMATA rules. WMATA unlawfully

discriminated against Plaintiff by disciplining him much more harshly than his white co-worker,

without any clear or specific reason. The only differences between Plaintiff and Brett Miller are

that Plaintiff is an African American male who was terminated for his first offense rather than

suspended; and Brett Miller committed three, much more serious offenses, and is a white male

who was suspended rather than terminated.

                                          ARGUMENT

   A. WMATA Failed to Meet Its Burden of Providing Admissible Evidence Showing a
      Legitimate, Nondiscriminatory, Clear, and Reasonably Specific Explanation for Its
      Actions.
       Once the Plaintiff has established a prima facie case of Title VII discrimination, the

Defendant has burden to articulate nondiscriminatory reason for its action. Civil Rights Act of

1964, § 701 et seq., as amended and McDonnell Douglas Corp. v. Green, 411 U.S. 792, (1973).

WMATA has failed to do this because they have only provided the Electronic Device Policy (Dkt.

15-2: Policy) to explain their actions, which is not enough. (See Figueroa v. Pompeo, 923 F.3d

1078, 1087 (D.C. Cir. 2019)).

       In Figueroa v. Pompeo, the D.C. Circuit addressed what the employer must show, noting

that “[a]n employer cannot satisfy its burden of production with insufficiently substantiated

assertions.” Id. There, the court outlined the four paramount factors in determining if a Defendant

has met their burden under the McDonnell Framework: (1) the employer must produce admissible

evidence that a factfinder may consider at trial; (2) if the factfinder must be able to reasonably be


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able to find that the employers actions were motivated by a nondiscriminatory reason; (3) the

nondiscriminatory explanation must be legitimate and facially “credible”; and (4) the evidence

must present a “clear and reasonably specific explanation. ID. In Figueroa v. Pompeo, the Court

found that the Defendant failed to meet the fourth element for failing to present a “clear and

reasonably specific explanation” for the termination because his articulation of a purported

legitimate, nondiscriminatory reason “conceal[ed] the target” when Defendant only produced an

eight-page chart outlining the Department's core precepts, declarations from board members

stating that they followed the precepts and a copy of the employee’s evaluations. Id.

       Here, WMATA has similarly produced a nine-page policy and testimony indicating the

ambiguous interpretation of such policy by some of the Labor Relations Consultants, such as

Joshua L. Greenfield. Mr. Greenfield testified that the Policy has been interpreted in broad terms,

and further, that he is unaware that those interpretations are made aware to the employees who are

subject to them. Also, the Defendants have not provided any proof that such broad interpretations

of the Policy terms have ever been communicated to the Plaintiff. Mr. Greenfield testified that:

   A. From our past practice and how we’ve interpreted it.
   Q. Okay. Because you were not involved in the creation of this policy, correct?
   A. No, I was not.

Greenfield Dep. 40:5-9

    A. – those words are used, but I can tell you that historically that is how it has been
       administered and interpreted.
    Q. Okay. Has that been communicated in writing to operators and maintenance workers alike,
       that the policy is being interpreted that broadly?
    A. I couldn’t say what is – what actual written communication goes to operators and
       maintenance and construction personnel…

Greenfield Dep. 66:9-20.

       By simply providing proof that there is a Policy and that the decision to terminate the

Plaintiff was based on such Policy, is not showing a legitimate, nondiscriminatory, clear, and

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reasonably specific explanation for its actions. See Figueroa v. Pompeo, where the D.C. Circuit

found that simply having a eight-page chart outlining the Department's core precepts, declarations

from board members stating that they followed the precepts, was not enough, without clear and

reasonably specific explanation as to how the employer applied their standards to an employee’s

specific circumstances and “[f]ailing to provide such detail—that is, offering a vague reason—is

the equivalent of offering no reason at all.” Id.at 1092. Like Figueroa, the simple fact that there is

a nine-page Policy with WMATA does not prove, specifically, that the decision to terminate the

Plaintiff was not based on unlawful discrimination.

       Here, WMATA continuously declares that the Plaintiff “was terminated for a legitimate,

non-discriminatory reason – namely his violation of WMATA’s Zero Tolerance Electronic Device

Policy” (quoting Defendant’s Memorandum of Points and Authorities in Support of Their Motion

for Summary Judgment). However, simply stating that, alone, is not sufficient enough to be

considered a “clear and reasonably specific explanation.” Id. WMATA has failed to clearly and

specifically explain why they terminated Plaintiff rather than give him the appropriate 10-day

suspension, as outlined by the Policy.

       WMATA’s Policy Enforcement Provision Section 6.01(a)(b): Revenue Vehicles states:

“(a) Using an Electronic Device while Operating a Revenue Vehicle, First Offense: Discharge;

and (b) Any other violation in Revenue Vehicles (i.e., an operator having a phone on their person

while operating) (1) First Offence: 10-day suspension (2) Second Offense: Discharge.” (Dkt. 15-

2 P/I:6.01).

       Despite having reviewed Plaintiff’s statements (Exhibit B:) and Laughery’s statement

(Dkt. 14-4: Laughery Email, Subject: Bus 7396 Mechanic Derrick Sims) and the surveillance video

(Dkt. 15-12 Video of Incident) which verifies the statements, WMATA continues refer to the



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Policy and strategically ignore the Enforcement Provision, Section 6.01(b)(1) which calls for a

driver who has a phone “on their person” to be subjected to a 10-day suspension for their First

Offense. (Dkt. 15-2 P/I:6.01). This was Plaintiff’s first offense. WMATA has not provided any

reasons for choosing the more serious disciplinary action over the less serious disciplinary action

regarding Plaintiff’s alleged violation of the Policy.

       Failing to articulate such a reason properly “is the legal equivalent of . . . having produced

no reason at all.” Patrick v. Ridge, 394 F.3d 311, 320 (5th Cir. 2004). WMATA has not provided

any “Clear, and Reasonably Specific Explanation” as to why they believe Plaintiff repositioning

his phone as it was falling from his pocket is not considered “an operator having a phone on their

person while operating” verses “using” the cell phone. Lacking any clear and reasonably specific

explanation, other than vaguely referencing the ambiguous “interpretation” of the Policy in the

past, unknown to employees, does not fulfill WMATA’s obligation set forth by the D.C. Circuit’s

fourth paramount factor.

       Under the McDonnell Douglas framework, an employee who proves their prima facie case

is entitled to a presumption that the employer discriminatorily mistreated them. The presumption

dissipates only if the employer meets its burden of production. Without WMATA meeting their

burden of articulating nondiscriminatory reasons for its action, the Plaintiff need not explain that

such actions were pretextually discriminatory because he is already entitled to the presumption.

Civil Rights Act of 1964, § 701 et seq., as amended; McDonnell, 411 U.S. 792, (1973).

   B. Plaintiff, Derrek Sims, has Provided Evidence Supporting that WMATA’s Alleged
      Reason for Termination is Pretext and was Unlawfully Discriminatory in Violation of
      Title VII.
       If WMATA meets its burden in a Title VII action to articulate nondiscriminatory reason

for its action, then the Plaintiff must prove that employer's proffered explanation is pretext. Civil

Rights Act of 1964, § 701 et seq., as amended, 42 U.S.C.A. § 2000e et seq. Should the Court find

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that WMATA has met their burden of providing admissible evidence showing a legitimate,

nondiscriminatory, clear, and reasonably specific explanation for its actions, the Plaintiff can still

prove through direct evidence or indirect evidence, showing that the legitimate, non-discriminatory

reason offered by WMATA is pretext and based on the prohibited discrimination. McDonnell, 411

U.S. 792, 802-05 (1973); Holbrook v. Reno, 196 F.3d 255, 260 (D.C. Cir. 1999).

       The standard for Summary Judgment set forth in Rule 56(c) provides that the summary

judgment is only proper “if the pleadings, depositions, answers to interrogatories, and admissions

on file, together with the affidavits, if any, show that there is no genuine issue as to any material

fact…” .”Celotex Corp., 477 U.S. at 324,106 S.Ct. 2548. (1986). “A genuine issue of material fact

exists ‘if the evidence, viewed in a light most favorable to the nonmoving party, could support a

reasonable jury’s verdict for the nonmoving party.’” Hairston v. Vance-Cooks, 773 F.3d at 271

(2014) (quoting Hampton v. Vilsack, 685 F.3d 1096, 1099 (D.C. Cir. 2012)).

       The Plaintiff has produced enough evidence for any reasonable jury to find, by

preponderance of the evidence, there is a genuine issue of material fact, and the WMATA’s true

reason for termination was discriminatory and based on the Plaintiff’s race. First, the Plaintiff was

not using his phone and simply had his phone “on his person” and should have been subjected to

the lesser discipline mandated by the Policy. Second, the Plaintiff has shown pretext when he

provided comparative evidence proving a white co-worker whose violations of WMATA’s

Policies were of similar seriousness, was only disciplined to a 20-day suspension, rather than the

mandatory termination provided by the relevant Policy.

   1. The Plaintiff was not “using” his iPhone, as he only had it “on his person” when it
      was in his pocket, falling out, and he picked it up with his right hand to secure it as
      he drove.
      First, the nine-page Electronic Device continuously referenced to by the WMATA as the

reason for terminating Plaintiff’s employment, lists in detail, ten (10) definitions, including a

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definition for “using an electronic device.” The Definition, in pertinent part, for “using” an

electronic device, such as a cell phone, is “(a) using the electronic device’s functions, such as, but

not limited to, viewing, charging, using the electronic device to check the time, or to check to see

if any messages have been received. (b) using the electronic device to communicate orally or

through text with another person or another device, such as, but not limited to, placing or answering

calls and sending, reading or replying to text messages or emails.” (Emphasis added). (Dkt. 15-2

P/I: 3.00)

       According to this definition set forth in the Policy, the Plaintiff was not “using” his cell

phone, as he never (a) “used its ‘functions’” and never (b) used it to communicate. The Plaintiff

presented supporting evidence that he never used the device’s functions or communicated with it,

when he provided his iPhone’s mobile Data, Text and Talk log for the relevant time period. Exhibit

C: The log shows there was no activity during the relevant time period on September 3, 2019.

       iPhones possess a unique feature called “Raise to Wake.” This allows for the phone to

illuminate with any upward movement, such as holding it. The Raise to Wake feature will turn on

your iPhone's screen automatically when it detects that the phone is being lifted, even without

using the phone. “If you don’t do anything, your iPhone will go back to sleep.” (See

support.apple.com)

       The Plaintiff has stated multiple times, which is supported by an abundance of evidence,

including a surveillance video, that he was not using his iPhone, and that it slipped from his pocket

and when he reached to get it to reposition it, the light automatically came on. The “Raise to Wake”

feature on the iPhone automatically illuminated the light. Evidence that supports this series of

events includes an email from Samuel Laughery, dated September 3, 2019, which states in

pertinent part, “Cell phone with the light illuminated in the right hand” (Dkt. 14-4: Laughery



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Email, Subject: Bus 7396 Mechanic Derrick Sims). There is nothing in this email that indicates

Mr. Laughery has any proof or knowledge that the Plaintiff was “using” his iPhone. In fact, this

email provides support that the Plaintiff’s phone was simply illuminated due to the Raise the Wake

feature.

       Additional provided evidence supporting the Plaintiff’s claim that he was not “using” his

iphone, is outlined in his affidavit dated September 3, 2019. (Dkt. 15-5: Derrick Sims Written

Statement). In his affidavit, the Plaintiff again reemphasizes that, “…my cell phone was falling

out [sic] my pocket when I hit a pothole, I grab my cell phone from falling out [sic] my pocket

and the light on the cell phone came on.” Affidavits or declarations that are “used to support or

oppose a motion must be made on personal knowledge, set out facts that would be admissible in

evidence, and show that the affiant or declarant is competent to testify on the matters stated” and

are cognizable evidence for purposes of supporting or opposing a motion for summary

judgment. Fed. R.Civ.P. 56(c)(4); United States v. $133,420.00 in U.S. Currency, 672 F.3d 629,

641 (9th Cir. 2012). Further, WMATA had an opportunity to examine Plaintiff about the subject

matter of the affidavit, during Plaintiff’s deposition. During such deposition, Plaintiff again

explained that he was not “using” his cell phone:

       Q        All right. Are you disputing that you were operating a revenue vehicle? By –
       A        I (indiscernible).
       Q        —using a cell phone?
       A        I was drivin’ a – I was operatin’ a
                Metro vehicle, but I wasn’t usin’ a cell phone.
       Q        Okay. So you’re – you’re denying that
                you used a cell phone?
       A        Correct.
       Q        All right. Now, was your understanding
                from the policy that you did not actually have to
                use a cell phone? …

(Sims Dep. 40: 3-14)



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       A.     I was never usin’ the phone.
       Q.     Okay. So again, so you’re saying that
              You didn’t violate this policy here…
       A      Correct

(Sims Dep. 41:3-7)

   Plaintiff’s testimony further explains that he had no reason to believe that his standard and

common interpretation for the word “use” would not be the same one used in the Policy.

       Q      Okay. Now, you say you didn’t use the
              phone. To you, what is using your iPhone?
       A      Text messaging, receiving phone calls,
              on the internet.
       Q      Right. Would you consider checking your
              Phone for the time use of your phone?
       A      Personally, me? No.
       Q      Well, okay. Let’s – what about
              Actually taking a phone out of your pocket while
              you’re driving and the light’s showing? Do you
              think that’s use of a cell phone?
       A      No.


(Sims Dep. 42:8-19)
       WMATA has a specific distinction between the violations of using a phone and having a

phone on one’s person, so much so, that there are different disciplinary actions outlined in the

Policy, Enforcement provision, section 6.00, as outlined above.

       There is a genuine dispute in the material facts of whether Plaintiff holding the phone in

his right hand while not using any of its ‘functions’ is considered “using” tfhe phone or if that

would be considered having the phone “on his person”.

       Plaintiff’s Affidavit is also supported by the facts outlined in WMATA’s Grievance Report

form signed September 17, 2019 (Exhibit D Grievance Report) as well as the termination letter

dated September 6, 2019 (Dkt. 15-6 Termination Letter). In the Grievance Report, the “Facts of

the Case” section explains, in pertinent part, that “…my phone was in my pocket about to fall out


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when I retrieved my phone the light came on…” In the termination letter written by WMATA’s

BMNT Superintendent, Jon McDonald, that states, in pertinent part, that “a cell phone illuminated

in your right hand.”

       The video surveillance that was recovered from the incident, and referred to in the

termination letter, verifies the Plaintiff’s factual assertions and affidavit, and show that his iPhone

indeed was falling from his right pocket, and as he retrieved it with his right hand, the automatic

Raise to Wake feature illuminated the light. The video also verifies that Plaintiff was never once

“using” the device’s “functions” or “communicating” with the iPhone. His mouth was not moving,

his fingers were not pushing the phone, and it was not lifted to his ears. He was only holding it,

“on his person.”

       As discussed above, there is no evidence available and the witness, Mr. Greenfield

indicated he is unaware of, any notice given to explain the WMATA’s broad interpretations of the

Policy terms. Under the Policy section 3.0 Definitions, there is no existing definition for the phrase

“on their person”. The standard common definition of “on someone’s person” is to be in one’s

possession.

       “A dispute over a material fact is ‘genuine’ if ‘the evidence is such that a reasonable

jury could return a verdict for the non-moving party.’” Arrington v. U.S., 473 F.3d 329 at

333 (D.C. Cir. 2006) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct.

2505, 91 L.Ed.2d 202 (1986)). A fact is “material” if it might affect the outcome of the case

under the substantive governing law. Liberty Lobby, 477 U.S. at 248, 106 S.Ct. 2505.

      Here, a reasonable jury could easily find based on the evidence presented, that the

Plaintiff was not using his phone, and that he merely had it in his possession and that he should

have been disciplined with a 10-day suspension, not terminated, according to the appropriate



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provision set forth in the Policy. Whether the Plaintiff’s phone was “on his person” or being “used”

is a fact that will affect the outcome of the case and should be determined by the jury.

   2. Plaintiff Has Shown Pretext by Providing Comparative Evidence Showing a
      Similarly Situated White Co-Worker Was Disciplined Less Harshly After Violating
      a WMATA Policy.
   A plaintiff must show that the proffered reason for termination is false, and that it is a pretext

for the discriminatory motive proposed by the plaintiff. Hutson v. McDonnell Douglas Corp., 63

F.3d 771, 777 (8th Cir. 1995). Although WMATA has not offered a sufficient justification, the

Plaintiff can prove the true motive of the WMATA is pretextual. See Plummer v. Bolger, 559

F.Supp. 324, 329 (D.D.C. 1983).

       There are three ways to show that WMATA’s justification was pretextual and that their

actions were discriminatory: (1) directly, by demonstrating that a “discriminatory reason more

likely motivated the employer,” George v. Leavitt, 407 F.3d 405, 413 (D.C. Cir. 2005); or (2)

indirectly, by demonstrating that the employer falsified the “underlying facts” that allegedly

justified the termination, See Brady v. Office of the Sergeant at Arms, 520 F.3d 490, 494

(D.C.Cir.2008); or (3) indirectly, by demonstrating that a similarly situated employee received

more preferential treatment or less harsh punitive measures. Id.

       In order to establish that the Plaintiff is similarly-situated to another individual, he must

“demonstrate that all of the relevant aspects of her employment situation were ‘nearly identical’

to those of the” comparator. Holbrook v. Reno, 196 F.3d 255, 261 (D.C. Cir.1999)

(quoting Neuren v. Adduci, Mastriani, Meeks & Schill, 43 F.3d 1507, 1514 (D.C.Cir.1995)).

This includes demonstrating that the comparator was “charged with offenses of ‘comparable

seriousness.’” Id.

       The Plaintiff, who is African American, has produced comparative evidence to show

pretext when he proved that a white co-worker, Brett Miller who was found in violation of several

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rules and of a WMATA policy, and who caused a bus crash (an act that the very Electronic Device

Policy is aimed to prevent) was issued only two 10-day paid-leave suspensions, a much less harsh

punitive measure than what the Plaintiff received, which was termination. Their scope of

employment is the same and their situations are comparable in seriousness.

       Both Plaintiff and Brett Miller are similarly situated employees, hired as mechanics and

all of the relevant aspects of their employment situation are nearly identical in regards to their

qualifications, job descriptions, and the rules they must both adhere to. Both have the same

superintendent and report to the same departments. The Superintendent, Jon McDonald, who

signed Brett Miller’s lenient Investigation Report, is the same person who signed the

termination letter sent to Plaintiff a month before.

       Plaintiff was terminated for violating the Electronic Device Policy, as outlined above, by

having his cell phone on his person while operating the vehicle. The Electronic Device Policy

Enforcement Provision Section 6.00 provides that under 6.01(b)(1): “Any other violation in

Revenue Vehicles (i.e., an operator having a phone on their person while operating) (1) First

Offence: 10-day suspension.”

       On or about October 31, 2019, Brett Miller was given two 10-day suspension/paid leave

when he violated WMATA’s Employee Rulebook and Cardinal Rules. Section 1.2 Truthful

Statements reads, 1.2.1 “Employees must make timely, complete, and truth statements at all times.

1.2.2 Any employee providing false or misleading information or documentation will be subject

to immediate dismissal.” Further, section 1.33 Accident/Incident Report states in pertinent part,

“Failure to immediately report an accident or incident or any attempt to conceal or misrepresent

facts is an extremely serious violation of rules and will result in dismissal.” Plaintiff also provided

evidence of Brett Miller’s Investigation Report outlining how he clearly violated these rules by



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failing to report an accident and failure to provide truthful statements. (Dkt. 15-8: Miller Oct. 4,

2019 Investigation Report).

       Brett Miller also had a clear and unambiguous Notice of the interpretation and seriousness

of this policy in the NTO #19-02 “Strict Enforcement” Notice which states in red bold font:

“Failure to immediately report an accident or incident or any attempt to conceal or misrepresent

facts is an extremely serious violation of rules and will result in dismissal.” (Exhibit E As stated

above, the Plaintiff never received notice that WMATA uses broad interpretations not commonly

known to the public when deciding if someone has violated the Electronic Device Policy.

       Plaintiff provides a truthful statement as to why his phone was illuminated in his right hand

for 2 seconds, and he is dismissed; yet Brett Miller makes an untruthful statement and falsifies a

report and receives 10-days paid leave suspension. Brett Miller violated a policy that is so serious

in nature, that WMATA has issued specific Notices in red bold font explaining the seriousness of

this act. In fact, WMATA calls it “an extremely serious violation of rules.” Brett Miller was not

dismissed after he crashed a WMATA metrobus, ironically, the exact type of dangerous and

serious act that the Electronic Device Policy is aimed to prevent. Brett Miller’s violations were of

much more serious nature than the Plaintiffs, and yet he was only placed on two 10-day paid-leave

suspensions. (Dkt. 15-8: Miller Oct. 4, 2019, Investigation Report). The rules that Brett Miller

violated require termination, according to the policy. The rule that Plaintiff violated calls for a 10-

day suspension. Further, there is a Petition signed by (35) members of the bus garage 922 that

states in pertinent part, “there’s been a clear racial bias at our division that can no longer be

tolerated also we would like Mr. Derrick Sims to be reinstated…” (Exhibit F)




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   C. WMATA is Not Immune because Acting in Accordance with the Electronic Device
      Policy was a Ministerial Act which Waives Sovereign Immunity.
         Sovereign Immunity is uniquely enjoyed by WMATA “with respect to certain

claims.” Pierce v. Wash. Metro. Area Transit Auth., Civ. No. DKC 09-1917, 2010 WL 4485826,

at *3 (D. Md. Nov. 9, 2010); McFadden v. Wash. Metro. Area Transit Auth., Civil Case No. GLS

19-629, 7 (D. Md. May. 24, 2021). “However, its sovereign immunity is not absolute.” Id. See

Section 80 of the Compact, which states, in pertinent part:

                The Authority shall be liable for its contracts and for its torts and those of
                its directors, officers, employees, and agents committed in the conduct of
                any proprietary function, in accordance with the applicable signatory
                (including rules of conflict of laws) but shall not be liable for any torts
                occurring in the performance of a governmental function.

         To determine what constitutes a "governmental act," there is a two-part analysis. First, the

court determines if the conduct was a "quintessential governmental function," (such as involving

law enforcement) and if not, then second, the court will determine if the act was a “discretionary

act” or a “ministerial act.” Smith v. Wash. Metro. Area Transit Auth., 290 F.3d 201, 207 (4th Cir.

2002). Discretionary acts retain immunity, as they are agency’s governmental functions; whereas

ministerial acts waive immunity, as they are proprietary functions of the agency. Id.; and

McFadden v. Wash. Metro. Area Transit Auth., Civil Case No. GLS 19-629, 7 (D. Md. May. 24,

2021).

         “To distinguish a discretionary act from a proprietary one, a court asks two questions. First,

whether a ‘statute, regulation, or policy specifically prescribes a course of action for an employee

to follow.’ Pierce, supra, at *4 (emphasis added) (quoting KiSKA Constr. Corp., 321 F.3d at

1159). If the course of action is prescribed, then the challenged conduct is not discretionary

and WMATA is not immune.” Id.




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       Here, WMATA was acting in accordance with their Electronic Device Policy. This Policy,

as they have continued to emphasize, specifically prescribes a course of action for an employee to

follow. Therefore, because the action was prescribed, the conduct is not discretionary and

WMATA is not immune.

                                         CONCLUSION
       WMATA failed to meet its burden of providing admissible evidence showing a legitimate,

nondiscriminatory, clear, and reasonably specific explanation for its actions because all they have

explained is that they terminated the Plaintiff based on the Electronic Device Policy.

       The Supreme Court has consistently emphasized that “at the summary judgment stage,

the judge’s function is not to weigh the evidence and determine the truth of the matter, but to

determine whether there is a genuine issue for trial.” Liberty Lobby, 477 U.S. at 248, 249, 106

S.Ct. 2505. The Plaintiff has provided evidence supporting that there is a genuine issue of

material fact as to whether Plaintiff, while holding his illuminated iPhone, was “using” it or

was simply having possession of it in his hand. The determination of this fact will most certainly

affect the outcome of the case.

       The Plaintiff has provided enough evidence for a reasonable jury to agree that he should

have been disciplined in accordance with the appropriate provision in the Policy, and the white

co-worker, Brett Miller, was given a much less harsh punitive measures for violating a policy

in much more extreme and serious ways.

       Further, WMATA has waived immunity by acting in accordance with the Policy.




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Respectfully submitted this 7th day of March 2022.


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